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                       EXHIBIT 7
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   1                                                                      1
   2           UNITED STATES DISTRICT COURT                               2
   3            DISTRICT OF MASSACHUSETTS                                 3
   4   -----------------------------X                                     4                     October 12, 2007
   5   In re: NEURONTIN MARKETING             MDL Docket No. 1629         5                     9:10 a.m.
   6   SALES PRACTICES, AND PRODUCTS Master File No.                      6
   7   LIABILITY LITIGATION              04-10981                         7
   8   -----------------------------X
                                                                          8             VIDEOTAPED DEPOSITION OF JANETH
   9
                                                                          9        TURNER, held at DAVIS, POLK & WARDWELL, LLP,
  10       VIDEOTAPED DEPOSITION OF JANETH TURNER
                                                                          10       450 Lexington Avenue, New York, New York,
  11               New York, New York
                                                                          11       before Bonnie Pruszynski, a Notary Public of
  12                October 12, 2007
                                                                          12       the State of New York.
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  20   Reported by:                                                       19

       Bonnie Pruszynski, RMR                                             20

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                                                                          2     A P P E A R A N C E S:
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                                                                                      Kingston, New York 12401
   5   IN RE NEURONTIN PRODUCT                                            5     BY:     ANDREW G. FINKELSTEIN, ESQ.
                                                                          6
   6   LIABILITY LITIGATION             Index Number 765000
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  21                                                                      20    BY:    VINCENT GUNTER, ESQ.
  22                                                                      21
                                                                                ALSO PRESENT: Keith Altman, Finkelstein &
  23                                                                      22           Partners
  24                                                                      23           Christine Mylod, Pfizer paralegal
                                                                          24
  25                                                                      25




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   1                 Janeth Turner                              1                  Janeth Turner
   2   Advisory Committee briefing document.                    2         A      My boss.
   3         Q     Let me hand over to you what is              3         Q      Mark Pierce.
   4   marked as Turner 35. If you could keep 31 in             4         A      He had taken over as the medical
   5   front of you also, please.                               5     monitor for gabapentin.
   6         A    Okay. 34 and all that are over here.          6         Q      And Mickey Fletcher.
   7   Okay. Okay.                                              7         A      Mark Pierce is a physician, an M.D.
   8             (Turner Exhibit Number 35 marked for           8     And Mickey Fletcher, he was the -- what did we
   9         identification as of this date.)                   9     call them. He reported -- the project manager.
  10         A    I'm sorry, that was a long contact.           10              He reported to the drug development
  11   Yes, I have read it.                                     11    vice president for the Neurontin Development Team.
  12         Q     I draw your attention to cover page,         12        Q      Who was that, the vice president, do
  13   where it says purpose of contact.                        13    you know?
  14         A    Yes.                                          14        A      At that -- at this time it was Ron
  15         Q     Actually, before we do, the date is          15    Martin.
  16   December 9, 1992?                                        16        Q      And present from the FDA was Russ
  17         A    December 9.                                   17    Katz and Nancy Chamberlain?
  18         Q     Is that your signature on the top?           18        A      Yes.
  19         A    Yes, it is.                                   19        Q      And it was a conference call?
  20         Q     Where it says initiated by PD. Does          20        A      Yes.
  21   that mean you made the phone call?                       21        Q      The request for clarification from
  22         A    Yes.                                          22    the FDA briefing document.
  23         Q     And where it says made it, a phone           23        A      Um-hum.
  24   call?                                                    24        Q      And then we will talk about the
  25         A    Yes.                                          25    information contained in a moment.



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   1                 Janeth Turner                              1                  Janeth Turner
   2         Q     Who was the phone call made to?              2               I just want to ask very simply, did
   3         A    I -- it says Russel Katz, but I am            3     the members that were present on the phone from
   4   sure I called Nancy Chamberlain. When you are            4     Parke Davis have the briefing document for
   5   doing something like this, you are having a              5     purposes of this discussion?
   6   telephone, more like a conference call with the          6         A      Yes. They must have. I'm assuming
   7   agency. Nancy Chamberlain and Dr. Katz would be          7     they did, because we had already started preparing
   8   in one room at FDA, and we would be in another           8     some responses to a couple of things that they had
   9   room at Parke Davis, and I would call Nancy              9     talked about in there.
  10   Chamberlain, and we would initiate the                   10        Q      And do you know how long this
  11   conversation.                                            11    conversation lasted?
  12         Q     And the purpose of contact says              12        A      No, I don't.
  13   request for clarification of FDA briefing                13        Q      And was the conversation related to
  14   document.                                                14    the safety and efficacy of the patients with
  15         A    Request for clarification from FDA            15    epilepsy?
  16   briefing document.                                       16        A      Okay. The first would have been
  17         Q     And the briefing document that               17    safety, because this is where they are going to
  18   references, is that what is contained in Turner          18    talk about carcinogenicity. So, yes, that one is
  19   31?                                                      19    safety.
  20         A    Yes. It would have been. This was             20        Q      I just -- I appreciate you going
  21   dated December 7, this is dated December 9.              21    through it. I'm not going to stop you. I just
  22         Q     And present for Parke Davis, was             22    want, just so you answer my question, safety and
  23   yourself, Jan Turner.                                    23    efficacy as relates to the epilepsy population.
  24         A    Um-hum.                                       24              So, if it's not, I would appreciate
  25         Q     Richard Spivey.                              25    you pointing it out; if it is --




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   1                 Janeth Turner                                1                   Janeth Turner
   2           MR. BARNES: Make sure, I didn't                    2     efficacy in epilepsy. So, that answers your
   3       understand your question. So what is your              3     question.
   4       question?                                              4           Q     If Parke Davis raised issues for
   5       Q       My question very simply is the                 5     clarification at this phone conference, would you
   6   conversation that is contained and described in            6     have put in this Record of Contact.
   7   Turner 35 related to the safety and efficacy of            7           A     I put everything Parke Davis raised
   8   the epilepsy population?                                   8     in this Record of Contact, and everything FDA
   9       A       Okay. For the first paragraph, it's            9     raised would be in this Record of Contact, and
  10   related to safety for all human beings.                    10    copies of it were sent it to everyone in
  11       Q       Okay.                                          11    attendance at Parke Davis.
  12       A       This -- these are, this was a study            12               And if I missed anything, they sure
  13   done in mice, I think, is the one that they are            13    would have let me know. I don't recall anyone
  14   talking about. And these are standard studies              14    ever calling me and saying you missed something.
  15   that are done for any drug that is given                   15    I was pretty thorough.
  16   long-term. So this applies to everybody.                   16          Q     And the page three distribution?
  17       Q       And it relates to cancer; right?               17          A     Oh, my, yes. It went to lots of
  18       A       Yes.                                           18    people.
  19           MR. BARNES: In animals.                            19          Q     What I want to ask is PC just means
  20       Q       In animals.                                    20    what, stands for what?
  21       A       In animals. And how it, I mean, FDA            21          A     Well --
  22   is always trying to predict whether it applies to          22          Q     On the right it says action and then
  23   humans or not, and it's an unresolved issue.               23    PC.
  24   Okay.                                                      24          A     It's like a copy, maybe it's a
  25           Gabapentin patient population                      25    personal copy. I don't know what it stood for.



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   1                 Janeth Turner                                1                   Janeth Turner
   2   increase in seizures, the increase in seizures,            2     It meant they all got copies. And action were the
   3   which was assigned FDA request number 125, would           3     guys that were - they had to do the responses at
   4   be dealing with efficacy, which, of course, would          4     this point in time. We had to get them back right
   5   be patients with epilepsy, okay.                           5     away.
   6           Literature references for sudden                   6                Poor Linda LaMoreaux. She did them
   7   death in epilepsy, that would deal with the                7     already.
   8   epilepsy population, of course.                            8           Q     So, you have are several people
   9           And B-18 appendix, one page,                       9     listed there and then you have CBIAA, RAAA, CI-1.
  10   distribution of patients by number of days with            10    Those aren't people. What is that?
  11   missed doses of study drug.                                11          A     CBI was the, it was an official
  12           Whoa. I would have to assume that                  12    document area, and it was located downstairs.
  13   this dealt with patients with epilepsy, because            13    What did CBI stand for? I don't remember what it
  14   you were most concerned about missed doses of drug         14    stands for.
  15   during the double blind phase; therefore, if it            15          Q     Okay.
  16   was a double blind study, presumably this was              16          A     So, we kept a file there.
  17   epilepsy. This has nothing to do with safety or            17               And we also kept a file, a regulatory
  18   efficacy. This was to do with patient compliance.          18    file in -- right there on our floor, where you
  19       Q       Again, just related to the epilepsy            19    could go in very quickly and easily and see
  20   population or something different?                         20    things. We could check those out. You could
  21       A       Yes. This would be the epilepsy                21    never touch anything in CBI.
  22   population, because 877210.P was an study in               22          Q     Do you know when you distributed what
  23   epilepsy.                                                  23    is set forth as Turner 35, this record of contact,
  24           Seizure frequency data, where only a               24    did you also distribute what is set forth in
  25   seizure flurry was reporter; that would be                 25    Turner 31, the briefing document?




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   1               Janeth Turner                                 1                   Janeth Turner
   2       A     I don't have on here who I sent the             2         Q     Well, did you actively participate in
   3   briefing document to.                                     3     any of those meetings?
   4       Q     On Turner 31? You don't have that.              4         A     I'm sure I did. I represented U.S.
   5       A     That's this thing, with my Record of            5     Regulatory Affairs.
   6   FDA Contact.                                              6         Q     And it was your job, as representing
   7            I don't know why it doesn't list who             7     U.S. Regulatory Affairs at this meeting, to
   8   I sent it to. I can't explain that. I don't               8     communicate what? Why were you at the meeting?
   9   know.                                                     9         A     I was at the meeting because when we
  10       Q     That's what I am asking.                        10    did new indications, they would eventually be
  11       A     Maybe the mail copy got here before             11    filed with the FDA and I was there to make certain
  12   this copy, I don't recall. But I was just sending         12    that when we did our studies, that we did them
  13   it to CBI and our regulatory files.                       13    according to what FDA would warrant and we could
  14       Q     My question is very simple.                     14    submit the data to the FDA.
  15       A     Okay.                                           15        Q     Was your part, was part of your role
  16       Q     This, what is set forth in 35,                  16    as the Regulatory Affairs member of the new drug
  17   describes a distribution list of several people           17    committee?
  18   and I want to just ask you was that distribution          18        A     Drug development team.
  19   list limited to the FDA Record of Contact or did          19        Q     I'm sorry. Drug development team, to
  20   it also include, the subject of the briefing              20    communicate prior experiences with the FDA as it
  21   document, include the actual briefing document?           21    relates to Neurontin?
  22       A     I don't know.                                   22        A     I don't understand that question.
  23       Q     Okay.                                           23        Q     Were you intended to sit in this team
  24       A     I know that Mark Pierce must have had           24    with the knowledge of having gone through the NDA
  25   a copy, Linda LaMoreaux must have had a copy,             25    application for the originally approved



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   1               Janeth Turner                                 1                   Janeth Turner
   2   because they were part of doing our responses to          2     indication?
   3   it. But, as I said, in response to your simple            3         A     I think a large majority of the
   4   question, it's not on this Record of FDA Contact;         4     people on this team were on the team when we filed
   5   therefore, I don't have a record of who got it.           5     the NDA, so, we all went through it together.
   6   Okay?                                                     6         Q     And your role, did it include
   7       Q     The Neurontin Drug Development Team             7     communicating to the team interactions with the
   8   that you were a member of --                              8     FDA during the original approval process?
   9       A     Yes.                                            9         A     It would depend on what the
  10       Q     -- that development team dealt with             10    interaction was about. If you were a member of
  11   evaluating new indications; correct?                      11    the team, and the interaction had to do with your
  12       A     Post approval.                                  12    area of responsibility, yes. I don't think I
  13       Q     Post approval?                                  13    routinely sent every FDA contact that I made with
  14       A     Of the initial indication, yes.                 14    the agency to every member of the drug development
  15       Q     And while you were a member of that             15    team. That would be -- you can look at every one
  16   development team, were you more than a scribe?            16    of the contacts, people I sent a copy to on here,
  17   Did you participate and vocalize any opinions?            17    and we could verify that, indeed, there were times
  18            MR. BARNES: Objection.                           18    that I didn't send it to everybody. I decided who
  19       A     I don't understand that at all.                 19    would get it, but I think I always sent it to the
  20            Was I more than a scribe? You mean               20    drug development team chair.
  21   did I sit there and write things down?                    21             Again, you would have to look at it.
  22       Q     Right.                                          22    I don't recall.
  23       A     That was the job of the project                 23             And he could send it to the team if
  24   manager. I did not take minutes at those                  24    he wished. I don't recall that happening, but --
  25   meetings.                                                 25    do you want me to look at a couple, and see if I




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